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                  EXHIBIT C
      REDACTED VERSION
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Jeffery Steen

From:                              Jeremy Williams <jwilliams@milberg.com>
Sent:                              Friday, September 30, 2022 5:21 PM
To:                                Barnes, Justin R. (Atlanta)
Cc:                                Matthew Lee
Subject:                           Re: Leong




       Jeremy Williams
       Main: 919-600-5000
       Cell: 302-381-8321
       www.milberg.com



       On Sep 30, 2022, at 5:14 PM, Barnes, Justin R. (Atlanta) <Justin.Barnes@jacksonlewis.com> wrote:


       You heard from me,                                               . If you feel the need to file something with
       the court before then that’s up to you.



           Justin Barnes
           Attorney at Law
           Jackson Lewis P.C.
           171 17th Street, NW
           Suite 1200
           Atlanta, GA 30363
           Direct: (404) 586-1809 | Main: (404) 525-8200
           Justin.Barnes@jacksonlewis.com | www.jacksonlewis.com

       From: Jeremy Williams <jwilliams@milberg.com>
       Sent: Friday, September 30, 2022 5:12 PM
       To: Barnes, Justin R. (Atlanta) <Justin.Barnes@jacksonlewis.com>
       Cc: Matthew Lee <mlee@milberg.com>
       Subject: Re: Leong


       [EXTERNAL SENDER]

       Can we hear from you or do we need to go to the court to enforce the settlement agreement? Nelly is quite
       frustrated, understandably so.

               Jeremy Williams
               Main: 919-600-5000
               Cell: 302-381-8321
               www.milberg.com


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On Sep 29, 2022, at 4:59 PM, Jeremy Williams <jwilliams@milberg.com> wrote:

If it’s been fixed,                                                              .

         Jeremy Williams
         Main: 919-600-5000
         Cell: 302-381-8321
         www.milberg.com




         On Sep 29, 2022, at 4:49 PM, Barnes, Justin R. (Atlanta)
         <Justin.Barnes@jacksonlewis.com> wrote:


         I’m sorry for the delay. There was a delay internally
                . The issue has been fixed though.
              .



               Justin Barnes
               Attorney at Law
               Jackson Lewis P.C.
               171 17th Street, NW
               Suite 1200
               Atlanta, GA 30363
               Direct: (404) 586-1809 | Main: (404) 525-8200
               Justin.Barnes@jacksonlewis.com | www.jacksonlewis.com

         From: Jeremy Williams <jwilliams@milberg.com>
         Sent: Thursday, September 29, 2022 2:15 PM
         To: Barnes, Justin R. (Atlanta) <Justin.Barnes@jacksonlewis.com>
         Cc: Matthew Lee <mlee@milberg.com>
         Subject: Re: Leong


         [EXTERNAL SENDER]

         Justin – Any update? Unsurprisingly, there’s quite a bit of frustration on
         our end that IBM has missed its deadline by 11 days.

         Jeremy Williams
         Main: 919-600-5000
         Cell: 302-381-8321
         www.milberg.com




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    From: Jeremy Williams <jwilliams@milberg.com>
    Date: Tuesday, September 27, 2022 at 10:03 PM
    To: Barnes, Justin R. (Atlanta) <Justin.Barnes@jacksonlewis.com>
    Cc: Matthew Lee <mlee@milberg.com>
    Subject: Re: Leong

    I hope trial is going well, were you able to get an update on the status of
         ?

    Jeremy Williams
    Main: 919-600-5000
    Cell: 302-381-8321
    www.milberg.com



    From: Barnes, Justin R. (Atlanta)
    <Justin.Barnes@jacksonlewis.com>
    Date: Tuesday, September 27, 2022 at 8:24 AM
    To: Jeremy Williams <jwilliams@milberg.com>
    Cc: Matthew Lee <mlee@milberg.com>
    Subject: Re: Leong

    Sorry Jeremy, I’m in trial this week, but I’ll check tonight after trial.


    <image001.png> Justin Barnes
                        Attorney at Law
                        Jackson Lewis P.C.
                        171 17th Street, NW
                        Suite 1200
                        Atlanta, GA 30363
                        Direct: (404) 586-1809 | Main: (404) 525-8200
                        Justin.Barnes@jacksonlewis.com | www.jacksonlewis.com


    From: Jeremy Williams <jwilliams@milberg.com>
    Sent: Monday, September 26, 2022 5:11:40 PM
    To: Barnes, Justin R. (Atlanta) <Justin.Barnes@jacksonlewis.com>
    Cc: Matthew Lee <mlee@milberg.com>
    Subject: Leong


    [EXTERNAL SENDER]

    Justin - do you have an update on the status of the Leong             ?

            Jeremy Williams
            Main: 919-600-5000
            Cell: 302-381-8321
            www.milberg.com

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